                                          Sealed

                     IN T H E UN ITED STA TES D ISTR ICT C O U R T
                    FO R TH E SO U TH ER N D ISTR ICT O F FLO R IDA
                                    N o.18-cv-60379




FED ER AL TM DE C O M M ISSIO N ,

     Plaintiff,




TH O M A S DL UC A,individually and also d/b/a
Bitcoin Funding Team and M y7N etwork,             (FILED UNDER SEAL)

LO U IS G A TTO ,individually and also d/b/a
Bitcoin Funding Team and M y7N etwork,

ER IC PIN K ST O N ,individually and also d/b/a
Bitcoin Funding Team and M y7N etwork,and

SC O TT CH AN D LER,individually and also
d/b/a Bitcoin Funding Team and Jetcoin,

     D efendants.


     PLAIN TIFF'S FIR ST A M EN DE D EX PAR TE M O TIO N FO R TEM PO M R Y
RESTRM NING ORDER W ITH ASSE;
                            T FREEZE AND OTHER EQUITABLE RELIEF,
 AN D O RD ER T O SH O W C AU SE W H Y A PR ELIM INA R Y INJUN C TIO N SH O U LD
                 N O T ISSU E,AN D M EM O M ND U M IN SU PPO RT
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Lbblll-tê?tl?2/t7tes3?.(5p?'t7#J&,1*73j2.6)lz111).:!(13é;3(lï.I2h.171t.;!()()1)..........-..........................................:!6)
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      tt
       ?-
        L?llschml   -dt3/. d/t? J/,T?t;317.:!(15711(15tlz(z1          -r.16)El15).............................................................3()




                                                                      W
1.     Introduction
       'l'heFederalTradeCommission (:TTC'')requeststhatthisCourtputanimmediateendto
DefendantsThomasDluca,LouisGatto,Eric Pinkston,and ScottChandler'sprom otion of
deceptive cryptocurrency investm entschem es.Since atleastearly 2017,D efendantshave
enticed constlm ersto investcryptocurrency- specifically bitcoin orlitecoin- irtthreeschemes:
Bitcoin Funding Tenm ,M y7Network,and Jetcoin.Defendantshaveclaimedthatconsum ers
could m ake substantialoreven life-changing incom e tlzrough theprop nm s.In reality,the
progrnm swerescam sdesignedto enrich afew earlyparticipantsandvictimizetherest.Bitcoin
Funding Team and M y7N etwork w ere illegalchain refenalschem es.These prolyam srequired
participantsto m ake an initialbitcoin or litecoin paym entw hich they could recoup only by
recruitingotherstojoinandmakepaymentsinturn.Theresultwasacontinualchainof
recruitmentthatensuredthatthemajorityofparticipantswouldlosemoney.1Tiethird schem e,
Jetcoin,guaranteed consum ersa doubling oftheirbitcoin investm entsbased on the supposed
activities ofateam ofanonym ouscryptocurrency traders.Jetcoin shuttered afteronly a m onth of
operations,resulting in heavy lossesby investors.
       Collectively,these schem eshavepurportedly recnzited atleast30,000 participants in the
U .S and othercountries,according to claim sby prom oters.2D efendants'prom otion ofthese
schemesviolated Section 5oftheFederalTradeCommissionAct,15U.S.C.j45(a),which
prohibitsdeceptive actsorpracticesin oraffecting com m erce.To stop D efendants'illegal
conduct,preserve theirbusinessrecords,and preserve assetsforconsum errestitution,the FTC
m ovesthe Courtto enter an exparte tem poral'y restraining orderw ith an assetfreeze and other
ancillary relief.A proposed TRO hasbeen subm itted w ith thisM otion.


1'rhe related term itpyrnm id schem e''hasbeen used to describe recruiting chainsin which the
enrollm entfee takesthe form ofa purchase ofgoodsor services and the recruitm entrew ard takes
theform ofcomm issionson purchasesby recruits.

2SBeAPP.113.28(screenshotfrom videoshowingthattheBitcoinFundingTeam platform had
13,274membersasofM ay 17,2017);App.201:10-12,597;(DlucaclaimsBitcoinFunding
Team hadparticipantsin71countries);410:15-19,618(PinkstonclaimsMyTNetworkhad 1,110
to 1,150memberssixweeksaherlaunch;535:15-536:3,634(PinkstonclaimsMyTNetworkhad
spreadtomorethan50countries);493:17-21,629tchandlerclaimsalmost20,000peoplehad
sir edupwithJetcoin);459:3-4,625(JetcoinpromoterclaimsJetcoinhaderlroltledpeoplein
overahundredcountries).
II.     D efendants'Schem es
                Bitcoin Funding T eam
       Bitcoin Funding Tenm wasan lnternetoperation thatstarted in February20173andhad
nnnouncedclosurebyAugust2017.Althoughtheoperationdescribeditselfasaplatform (rather
thanacompany)4throughwhichparticipantscouldusemuttzaldonationstofundttfnmilyor
friendsin need,''<çorganizations or p oups,''orttglobalorlocalcauses,''sD efendantDluca, w ho
identified him selfasa creatoroftheprov am ,assertedthatttcauses''could includethingslike
education, m edicalexpenses,6paying offhouses, retirem ent,?or accum ulating personalwealth.B
Heand theotherDefendantsclaim edthepror am would generatesubstantialincom efor
participantson a m onthly basis.
        Bitcoin Funding Team offered no productsor services.9Participantsenlolled by paying a
008bitcoin(<tbtc'')platform feeandmakinganinitialpaymentCEdonation'')of0.1btc,which
.


w asrouted to apreviously enrolled participant.10Thisinitia1paym entgranted participantsthe
rightto recruitothersinto the netw ork and to receive recnzitm entrew ards.Each participant
recruited tw o participants,w ho in turn recruited tw o m ore,and so on down to five levels of
recruitment.Theresultingpyramid-shapeddownline(also calleda2x5matrix)included2,4,8,
16,and 32 participantsin Levels l,2,3,4,and 5,respectively,fora totalof62 participants.The
initial.1btc paym ententitled the participantto receive paym ents from Level 1recruits;
participantshadtomakeadditional,largerpayments(çiupgrades'')toreceivepaymentsfrom
3APP.200:21-22,597(inFebruaryvideo,Dlucastatedthattheprogram was10daysold).
4 App. 113.26,
             .gpg.
                 .4.5,6(;j.
5A PP.113.25.

6A pp.148:20-149:1, 593.

7A PP.155:4-10,593.

FAPP.204:21to25,597Cdoneyear,andthisalonewillmakeamillionaireofeverybodyonthis
phoneifyou go and ask two peopleto trustyou and they ask two peopleto trustthem because
theypayyouandtherestofthisteam.'').
9A PP.113.26;296:5-7, 601.

10seegdDcrl//# App. 603,attim estnm p :
                                      25:25 to 36:15.


                                                 2
levels2 through 5.Participantsw ere required to renew theirpaym entsevery m onth in orderto
retain theirposition in the m atrix.11Pronlotersclaimed thatafullm atrix wouldgenerateover84
btcpermonth.12
        Bitcoin Funding Team waspresented asabonafdeincom eopportunity,butin factitwas
a chain referralschem eprohibited bytheFTC Actbecause itrequired participantsto m akean
initialinvestm ent,in exchangeforwhich theparticipantacquired therighttorecruitothersand
obtain paym ents from recruits.13 Sincethe operation offered no productsorservices, the only
way aparticipantcould recoup hisorherinitialinvestmentwastorecruitnew participantsinto
the m ulti-levelstructure.14D r.W illiam K eep, a professorofm arketing retained asan expertby
the FTC to exam ine the program ,agrees.H e concluded thatBitcoin Funding Team w asa chain
referralschem e and resem bled pastschelnesknown asçtgifting clubs,''endless chains,''or
ttinvestmentpyramidschemes.''lsHealsodetenninedthatthemajorityofparticipantsinBitcoin
Funding team w ould have lostm oney.ln fact,atany particularpointin tim e,the bottom three
levelsofthe Bitcoin Funding Team recruitm entnetwork w ould be in a lossposition;this equates
to approxim ately 87.6% ofparticipants.16
        B.     D efendants'Rolesin Bitcoin Funding T eam
                      Thom as Dluca
        D efendantDluca w as described by otherparticipantsasthe founder,owner,creator,and
adm inistratorofBitcoin Funding Team .17He participated in recorded conference callsthatw ere


11Thispreceding description oftheprogram com es from D r. W illiam K eep'sanalysis and from
promotionalvideos.SeeDeclarationofW illiam W .Keep,PhD CçlûeepDeclaration'),at!!7-10
(App.116-118)andApp.296:9-296.3:19,601.
12seeA PP.113.27;see also K eep D eclaration, at!(9andTable1(App.116,117).Onebitcoin
wasworth approximatçly $1,000 atthetim etheschemewaslaunched;the estim ated priceasof
February9,2018was$8,445.00.Id.atfn 3(App.116).
131d. at!(11(App.118).

14Irl

15ld at!(26(App.125).
16ld atI!J20-21(App.122-123).
1-/See, e.g.,.         '174-
             App.113.20,   .19-175.
                                  .7,11
                                      .76.
                                         .12-23,183:9-185.
                                                         .7,600-
                                                               ,199-
                                                                   .23-25,597-
                                                                             ,309-
                                                                                 .23-
subsequently posted on the lntem et,in w llich he described and prom oted the program .l'
Throughoutthecalls,heidentifiedhim selfasacreatoroftheprop nm 19and claimed
adm inistrative controlovertheplatform .20H em ade deceptive incom e claim son behalfofthe
ProgrnTn.
                  2.   L ouisG atto
         DefendantGatto prom oted theprogrnm with an extensivelineofYoun bevideos.zlIn
these videos,DefendantGattotrained participantsin theoperation ofBitcoin Funding Team 's
matrix andwebsitebyusing screenshotsofhisown ttmemberdashboard''and proceeding step by
step through the initialpaym ent,22recruitm entofadditionalparticipants, and paym ent
upp ades.23View ers who w atched DefendantGatto'svideos in chronologicalorder could
observehim filling hism atrix and ascending levels within the structure.24D efendantG atto also
prom oted Bitcoin Funding Team on Facebook.25H e used deceptive incom e claim sto prom ote
theprogram .



310:1,599,
         -268:24-269:5,592-
                          ,331:17-332:8,602.

18Seegeneral/y A pp. 593.
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                             2-206:21, 597.
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                                                              256:12-262:1f, 598*
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278210,592.
          ,332:9-340:6,602.

19See,e.g.,App.149.
                  .5-13,593.
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                               .2- 5,597.
                                        ,243.
                                            .4-7,596.
                                                    ,270.
                                                        .8-10,592.
                                                                 ,333.
                                                                     .19-334.
                                                                            .3,602.
20
   %8% e.g.APP.150.
     v              .8-154:10,593(discussingupcomingoverhaulofplatfonn,includingadding
dtcompression''toflushoutinactiveparticipantsl;203:19-20:1,597(discussingupcoming
changesto softwarel;204:17-20,597(discussingoperation'sûtleadership cotmcil'l;243:4-
244:15,596(discussingongoingprojectstoaddresstechnologicalissuesl;339:18-22,602
(ttW e'remanagersandwe'llmanagethiswithintegrity'l;336:14-15,602CEYeah,wehandlethe
platfolnn.').
21Seeév/ldrfl11y A pp. 594;606;608;609;610;611,
                                              '612.

22see JC/IC/'
            J//y App. 606.
23seegenera//y A pp. 6O9,attimestnm p 4:57through 7:52;App.608,attimestamp 21:15to
29:24.

24cyApp.113.22withApp.113.23andApp.113.29.
25See App.jjg.6.jjg.jj.
              .




                                               4
                 3.    E ric Pinkston
         DefendantPinkston wasoneoftlleeadiestparticipantsin theschem e.DefendantDluca
statedin onerecorded conferencecallthatDefendantPinkston wasone oftwo initialenro1lees.26
Otherparticipantreferred tohim asbeing &<atthe very top ofthisprogrnm ''z7and asoneofthe
originalcreators.28He prom oted Bitcoin Funding Tenm in severalrecorded videoconferences.zg
Heoffered to help participantswith problem swith theplatform 30even ifthepmïicipantswere
notonhisEtteam ''(downlinel.3lHeclaimedtowork closelywithDefendantDlucaonperfecting
the system .32He used deceptive incom e claim sto prom ote theprogrnm .
                 4.    ScottC handler
         DefendantChandlerpromoted BitcoinFundingTeam in recorded conferencecalls.33ln at
leasttw o calls,D efendantChandlerdesclibed Bitcoin Funding Team 'sm atrix in detailand
trained participants on how to m axim ize results.34H e claim ed to speak w ith Dluca every day.35


26App.339:7-12,6O2(t<Rightnow,weliguredawaytohelpourfriends (...)1invitedtwo
                                                                          .

friends,EricandSam,andita11begantherefrom 1neinvitingtwo friends.''l.
27A PP.267:17-24,592.

28App. 308:11-17,599.ltisunknow n wlzetherD efendantPinkston in factw orked with
DefendantDlucato createtheprogram ,buthewasclearly viewed asbeingveryhigh inthe
Program .
29
  See generally App.177.
                       .
                         13-179-
                               .9,180.
                                     .24-188.
                                            .16,600.
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385:19-386:8,613.
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     Ap).223.8-21,225-
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                     .7-12,596.
31A PP.226:11-16,596.

32See App. 183:9-185:7,600(describingrepeatedcontactswithDefendantDlucatoaddress
issueswiththeplatform)
33seegenera//y A pp. 193:22-198.1.19,597.
                                        ,284.
                                            .19 -291:14,595,
                                                           .315:23-318:3,34::7-345:24,
602.

34See A PP.341:10-345:1, 602;284:19-289:8,595.

35A PP.198:18-24,597.



                                                5
H e used deceptive incom e claim sto prom ote the program .
          C.     Incom e Claim son B ehalfofBitcoin Funding Team
          Bitcoin Funding Tenm prom otersclaim ed thattheprogrnm could generate 84 btcper
m onth,and Defendants oAen invoked this optim alscenario,stating thatBitcoin Funding Team 's
m atrix wasawayto leverageaone-time,0.1btcdonation into apotential84 btcorequivalent
cash nm ountsevery month.36DefendantsGatto and Chandleralsoillustratedtheoperation ofthe
matrix up to the 84 btclevelin theirpromotionalm aterial.37
          ln addition to describing theoptim alscenario,Defendantsclaimed participantscould
m ake large am ounts ofm oney within a shortperiod oftim e:
Dluca:          O ne year,and thisalone w illm ake a m illionaire ofeverybody on this
                phoneifyou go and ask twopeopleto trustyou and they ask two peopleto
                trustthem because they pay you and the restofthisteam .38

                There's no excuse thata single one ofyou aren'treceiving 40, 50,80
                bitcoinsin amatterof30 days.W ho'sholding you back? Yourself.
                W e're notholding you back.39

G atto:          If1canshow youhow totul'nalittle'over$100billinto$5000intheg...1
                next30 days, would you listen to som ething fortw o m inutes?4o

Pinkston'
        .       Think aboutw hattive,six,eight,ten extrabitcoin could m ean to each one of
                these individualson thisphonetonight.Now,we'regoingto do thateasily in the
                next90 to 180 days.

                lcan tellyou this,guys,you startoutby putting an extra five or six bitcoin
                in yourpocket,orforwhateveryourcausem ay be orforwhateveryou


36See,e.
       g.,A pp.204:25-205:3, 597(Dluca);335:17-336:3,338:1-10,602(D1uca);160:21-
161:6,594(Gat4o);360:14-363:8,610(Gatto);380:14-381:4,613(Pinkstonl;194:7-10,597
(Chandler).
37See A pp. 164:
               3-169:4,594 (Gatto);350:10to354:4,612(Gatto),
                                                           '287:5-288:24,595
(Chandler).
38A pp.2:4:21-25, 597.

39App. 261.
          .g.5,5pg.
40A PP.213:16-213. 1:1,609. Gatto also tellsprospectsthey can make$14,000 wit%in am onth.
App.362:16-18,610.



                                                6
                w antto do. The nextm 011th,itgoesto eightorten. Thenextm onth,it
                goes to 8, 12,15.41

Chandler'
        .       W hatifwe could teach you how you can --can < ow and saveand putinto your
                own personalaccountm aybe 100,m aybe200,maybe500bitcoinbeforethe
                sum m erisover?42

        Defendantsalso m adeothertypesofincome c1aims.43
        D efendants'claim sw ere deceptive. Bitcoin Funding Team 's structure ensured thatfew
participantsachieved theresultsclaim ed by Defendants,and,in fact,m ostparticipantswould
have lostm oney.
        D.     M y7N etw ork
       ln M ay 2017,DefendantsGatto and Pinkston began to appearin videospromoting anew
cryptocurrency schem e, M y7N etw ork.44 DefendantDluca began to appearin videosprom oting
theschem einNovember2017.45M y7Network describesitselfasan dteasy-to-follow business
system''thatprovidesEtyourgateway to financialfreedom ''and a iEsubstantialincomewhileyou
build abusinessfrom thecomfortofyourown hom e.''46D efendants Dluca, Gatto and Pinkston
claim ed the program could provide substantialoreven unlim ited incom e. H ow ever,
M y7N etw ork,like Bitcoin Funding Team ,is a chain refen-alschem e thatdependspurely upon
the recruitm entofothersto generate incom e,ensuring thatm ostparticipantslose m oney.
        M y7Networkhasprom oted multipleplansthathavechanged overtim e,buthaverecently
included the dtM y7W orld7''ttM y7M ini'''tiM y7starter,''tiM y7O ne,''and ttM y-/Rocket''bitcoin
plansand the itM y7Future,''dtM y-/lwitecoin,''tçM y7Lightning,''and tçM y-/Freedom plans



41App.185.
         .14-18,187.
                   .2-7,600.
                           ,seealso App. 328.
                                            .21-329:4,6O2 (pinkstonclaimsparticipants
canleam to leverage.1btcintotwo,five,ten,or20bitcoinswithinnext90days).
42App. 197:.10-13,597.

43seeoeclarationofBrentMcpeek (çdM cpeekDeclaration'), atMI*11-13(App.106-109).
44 see App. 113.54-113.55;113.38-113.39.

45see A PP.113.56-113.58.

46A pp. 113.1.
             ,jj?.g.



                                                 7
involvinglitecoin,anothercryptocurrency.47Theseplansrequireinitialpaymentsran#ngfrom
 77litecoin(it1tc'')to1.05btc.48ln ordertoreceivecryptocurrencyrewards, participantsmust
éçcycle''theplansby filling arecruitmentm atrix.Forexnmple,the EiM y7Litecoin''schem e
requiresthe participantto m akes an initialpaym entof3.5 1tc and to recruitothersinto a 2x2
m atrix.The2x2 desir ation refersto thebinary structureand two-leveldownline.The
participantfllsthem atrixby recruiting two moreparticipants,each ofwhom recnzittwo m ore
participantsforasecondleveloffourpm icipants.Theresulting pyram id-shaped downline
consistsofsix pm icipants.49Afterfilling the m atrix, theparticipantreceivesasetrewardof8.5
ltc.50
         Otherplanspromoted by M y 7Network are2X3 m atrices.51participantscan cyclethe
sam e plan repeatedly,butprom otersencourage them to use the rew ards from lower-levelplans
to investin higher-levelplans.52
       Like Bitcoin Funding Team ,M y7N etw ork appearsnotto offerany productsorservices
forsale.53Pal'
             ticipants obtain rewards by recruiting new investorsinto the program . The FTC 'S
expertanalyst,D r.Keep,detennined thatM y7N etw ork,like Bitcoin Funding Team ,is a chain

47Thisparag aph describestheprogram as itw asprom oted in recentvideosreview ed by Dr.
Keep.SeeKeep Declaration,atTable3(App.128).A February2018recaptureof
m v7network.com show sthatthe schem eisnow offering adifferentselection ofm atrices,
including new m atrices for Bitcoin C ash and Ethereum ,which are also cryptocurrencies. See
App.113.3-113.5.

48K eep D eclaration, atTableThree(App.128).

49Id at!28(App.126).
50 u eFor a description ofthe M y7M iniprogram , see App.397:19-398:17;614'
                                                                          5113.31.
51See A PP.113.30;113.32;113.3;113.4-
                                    p113.5. See also Keep D eclaration,at'
                                                                         Table Three
(App.128).
52see,e.
       g.,399:19-400:13,615. seealsoKeepDeclaration,at!!I29-30(App.126-127).
53 In aSeptember19 2017video(approximately5monthsaherlaunch),aparticipantclaimed
thatasuiteofbusinesstrainingm aterialswould soon beavailable. App.553:4-13,635.
However,itisunclearto whatextentthiscontentwasim plem ented;aFebruary 2017re-capture
ofm v7network.com contained noreferenceto thism aterial.Seegenerall
                                                                  y App.642. Defendant
Dlucaofferedgeneralcryptocurrencyinvestmentadviceinhisvideos(see,e.g.,584:16-586:3,
639),butthereisnoevidencethatM y> etworkhaseversoldtradingadviceorservices.


                                               8
referralschem e.54 H e hasa1so concludetlthatthe structure ofthe program m eansthatthe

overwhelmingmajorityofparticipantswillbeinalosspositionatanygivenpointintimeduring
the life ofthe prov am .55
       E.      D efendants'Rolesin M y> etwork.
               1.     Thom as Dluca
      DefendantDlucapromoted M y7Network in aseriesofconferencecallsthatwereposted
on YouTube.56In thoseca11s,he described the variousplans, madedeceptiveincome claim s,and
encouragedlistenerstospreadtheprovam byrecnzitingjusttwoothers.57
              2.     LouisG atto
       D efendantG atto prom oted M y7N etw ork on YouTube and socialm edia.58He pro(juced a
seriesofY ouTube videosin w hich he explained the program in detailand m ade deceptive
incom e claim son behalfofthe program .59
              3.     Eric Pinkston
       D efendantPinkston prom oted M y7N etw ork in a seriesofrecorded videoconferences.60In
these videos,he m ade deceptive incom e claim son behalfofthe prov am and also im plied to
listeners thathe had insiderknow ledge abouttheprogram and som e levelofadnlinistrative
input.61ln one cal1,he announced upcom ing changesto the program thatw ere ttnotquite ready
forrelease,''including the addition ofm arketing toolsand a new m at1ix.62In the sam e call, he


54 K
   .
    eep oeclaration,at!f33(App.128-129).
55Id at!(36(App.129-130).
56seegenerall
            y App. 638-641.

51see discussion atSections II.F andlV.C.1,infra.

58seegenerally App. 631-633(videos);113.12-113.17(Facebookposts).

59see discussion atsectionsII.F and IV.C.2,infra.

60seegenerally App. 614;618;630;634;,636;637.

61see discussion in SectionsII.F andlV.
                                      C.3,infra.
62 A PP.422:2 to 428:21, 618.



                                                9
im plied thathehandled ççsupporttickets''on behalfoftheprogrnm .63
        F.     Incom e Claim s O n BehalfofM y7N etw ork.
        DefendantDlucam ademultipleclaim sin hisvideosto theeffectthatviewerscould
achieve financialfreedom tllrough theM'y7Networkprogram .Hewam edthatviewerswho did
notjoin wouldmissthet%iggestwealthcreation''theyhadeverseen64andthattherewastta
fortuneto bem adehere.''65H e c1aim ed tlatlistenerscould Eiwipeoutyourdebtlikeitisnothing''
w ith the program 66and thatthere w as no reason why listeners should notbe Eisetforlife''by
<(playing with thissystem .''6?H e also stated thatlistenerscould m ake a m illion dollarsin a few
m onths tllrough the program ifthey w ere w illing to :% uckle dow n and go to w ork.''68H e also
described specificam ounts- including asmuch as$54,600- viewerscould makeby cyclingthe
m atrices.69
       D efendantGatto described the M y7N etw ork program s in hisYou-rube videosand
claim ed deceptively thatconsum erscould earn substantialincom eby cycling repeatedly.
Forexam ple,he told consum ersthathe would teach them how to turn one bitcoin into
seven bitcoinsand said, iûw e're going to do itoverand overand over again.''?oH e
displayed M y7N etw ork w ebpages thatclaim the operation is ttyourgatew ay to linancial
freedoin''and offersttsubstantialincome.''?lHeclaim edthesystem isableto generate
substantialrew ards within a shortperiod oftim e;hegave exalnplesofparticipantswho


63App. 426:20-24,618(Pinkston statesthathe had only ttseven or eightsupporttickets''com e
directlytohim).
64 App.57g:;.6,6gg.

65A PP.574:12-13,638.

66App.575:lq.a(j,6ag.

61A PP.588.
          .1-5,639.
68A pp.578:25-579:2, 638.

69A PP.577:6-9,638.

70A PP.516:11-13,632;see also A pp. 502.1:6-7,631.

71A pp. 113.37.



                                                 10
had supposedly filled one ofthe m atricesin one day, a w eek,orthirteen days.72rjajye
implication from hispromotionalvideosisthatconsumerswhojoinMy7Networkcan
realize large revenues.
       DefendantPinkston made sim ilarclaim sin recorded prom otionalcalls.Hedescribed the
M yV etwork progrnm sast<thetruegateway to financialgeedom ....1willguaranteeit.''O He
also claimed participantscould enrnunlim itedincom e.74He cited hisow n purported successas
an exnm ple, claimingto havem adeover30 btc in lessthan 30days75and,w ith another
participant,tsim ,''44 to 46 btc in six w eeks.o He also m ade a vadety ofotherincom eclaim s.x
       G.      Jetcoin's Program
       lnM ay and June2017,DefendantChandlerprom oted Jetcoin,anotherdeceptivebitcoin
schem e,in a series ofrecorded ttM asterD istlibutor''prom otionalcallsthatw ere posted on
YouTube.?8Jetcoin w aslaunched on oraround M ay 31, 20l7.19Like Bitcoin Flmding Team and
M y7N etw ork,Jetcoin offered consum ers the pup orted opportunity to turn an initialbitcoin
investm entinto a stream ofrevenue.How ever,Jetcoin claim ed to offertw o diffbrenttypesof
incom e stream s- a passive investm entprogram in which consum erswere guaranteed to double
theirinitialbitcoin investluentwithin aspecificperiod oftim e,and amultilevelprogram in
which consul-nersreceived a colnm ission forrecnziting otherinvestors.80


72A PP.511:21-23, 631(onedayand 13days);App.525:1-2,632(onedayl;App.530:19-24,
633(onedayandoneweek).
12App.396:9-11,614.See also A pp. 113.
                                     33(showingwebsitescreenshotclaimingthatprogram
istiyourgatewaytotinancialfreedom''andofferstçsubstantialincome').
74App.396.
         .14-15,397.
                   .10-12,614.
                             ,409-
                                 .4-5,409:13- 14,618.

15A PP.396:24-397:2, 614;431:11-13,620.A pp.614 and A pp.620 appearto be tw o different
editsofthe sam evideo,posted on YouTubeatseparatetimes.
76A PP.421.1:22-24,618.

77seeM cpeek Declaration, at!(14(App.109-110).

7*seegenerally App. 624;625;626;628;629.

19Jee A PP.461.
              -7-8N471.
                      '16-21,626.
                                ,440.'7-8,443:13-17,624.
80App. 113.34.


                                               11
       Prom oters claim ed thatJetcoin w'as able to offera guaranteed doubling ()fthe initial
investm entbecause ofthe activitiesofa1lexperienced tenm ofcryptocurrency traders.SlJn a .



recorded conference call,DefendantChandlerstated thatthepeople çtbellindthescenes''wished
to rem ain anonymoussopeoplewouldnotbe calling them a11thetimeoreven hann their
fam ilies.82ln otherca1ls,D efendantChandler assured listenersthatheknew thepeople çt
                                                                                    bellind
the scenes''and tnzsted them .83H e used the analogy ofa sm allchild who isnotw orried abouta
train crash becausehisdaddy isdriving the train,and told listenersttW eknow theguy who's
m aldng things happen w ith Jetcoin.,,84
       TheJetcoin train began to go offtherailsshortly afteritleh thestation.On aJune 14,
2017 call,D efendantChandlerinform ed listenersthatJetcoin wasm aking changesto preserve
the longevity ofthe com pany,including extending the tim e period in which participantsw ould
doubletheirbitcoin from a40to 50dayrangeto60 days,and reducingthem aximum
investm ent.85H owever,he continued to prom ote theprop am .86 In a June 21, 2017 call,Chandler
announced thatJetcoin had been hacked and had m ade som e erroneouspaym ents,thatthe
website wasdow n form aintenance,and thatcom m issions would be stopped untilthe w ebsite
w asreprogram m ed.87H e also alm ounced anotherreduction in the passive investm entpayotlts.'B




81sJdyeg.APP.436:6-13,437:23-438:2c623(promoterclaimsJetcoinhasateam of
        .


experiencedtradersinJapanl;476:19-23,628(Chandlerstatescompanycanpay4to5percent
perdaybecauseofcryptocurrencytradingl;482:24-483:4,628(promoterassureslistenersthat
ttthetradersaremakingsomuchmoneyinthebackgroundthatit'snotevenfunny').
82App.465.
         .jg.466.
                .z,6:6.

83APP.445:4-6,624('tgw jeknow thepeoplebellindthescenes,andeverythingisworlcing
flawlessly.'');479:4-6,628(ttwetnzstthepeoplethatweknow behindthescenes').
84A pp.486.
          .?-48:.
                .6,ygg.
85A pp.477*
          .15-478-
                 .9,484-
                       .3-6,485:6-14,,628.
86A PP.488:14-19,628.

87A pp.494:17-495:22, 498:8-11,629.

88A pp.495:22-497:25, 629.



                                               12
       Jetcoin stopped m aking payouts around thistim e and neverresum ed.89Soon after,
DefendantChandleracknowledged thatthere wasno cryptocurrency trading behind theprogram ,
and thathewasresigning.90On Augustx
                                  :!9,2017,Jetcoin'swebsite nnnounced thattheoperation
hadnew ownersandwouldbeoperatingtmderthename<<M yDi#talBTC.''91However,in
September2017, M yDigitalBTC nnnounced thatitwasalso shuttingdown.92consumerswho
invested in Jetcoin wereunableto recovertheirinitialinvestments.93
       A snoted above,Jetcoin'sfalse earningsprom iseschanged severaltim es.As described by
aprom oterin aJune9,2017 YouTubevideo,Jetcoin initially offered eightsupposedinvestment
packagescostingbetween .05 btc and 8 btc.94The m ore expensivepackagesclaim ed to offer
higherpassiveTeturnsand higherrecruitm enteom m issions.95A tthe .05 btclevel,participants
acquired the rightto recruitinvestorsand to receive a 9 percentcom m ission on investm ents
m ade by their dow nlines.96Thatcom mission increased to asmuch as25percentats gjaer
investm entlevels.97A tthe . 10 btc level,participants w ereprom ised thattheirinvestm entw ould
doublein 50 days.98Higherinvestm entsweresupposed to reducethedoublingperiodto 40
days.99How ever,allot-these claim s w ere prove false forinvestorsw ho paid into the schem e and


89Declaration ofKaiShen Phan(ddphanDeclaration''),at!r5(App 140),
                                                                .DeclarationofRaymos
                                                                    .

Gonzales(tEGonzalesDeclaration''),at! 4(App.143-144).
90PhanDec1aration,at!(5(App 140).
                                .



911d. atN7(App.140).

92Ide.
     lApp. 141-142.
93u at!(8(App.140);GonzalesDeclaration,at!5(App.144)            .


94App. 113.35(screenshotfrom    YouTubevideo);113.36(screenshotfrom YouTubevideo).
95A PP.113.34;113.35;113.36.

96App. 113.35.

97App. 113.36.

98A PP.jj?.95.

99APP.)jg.?6.



                                               13
w ere unable to even recovertheir initialinvestm ents.
        H.     D efendantC handlergs R ole in Jetcoin
        DefendantChandlerwasdescribed by anotherparticipantasam asterdistributorof
Jetcoin.100 H isprom otionalcalls,asposted on YouTube, were titled çiletcoin M aster
Distributor''ca11s. 101 Hewaslikely attheverytop oftheorganization;when Jetcoinbegan to
reduce itspayouts,he told listenershe w asunable to return a11phone callsbecause he w as
getting athousand callsaday and had over 15,000 m emberson histenm .102r
                                                                       jnjAough
characterized as a distributor,he boasted insiderstat'usby claim ing to know the people behind
the scenes,and leveraged thatstatus to try to calm investorsonce Jetcoin began to repudiate its
prom ises.103
       DefendantChandleralso claim edto havehad inputin thedevelopm entoftheprop-am .
lntheMay31,2017call,whichoccurredjustastheprogram waslaunching,hestatedthathe
had been able to go behind the scenes for tEthe lasttw o orthree m onths''and m ake som e
suggestions.lO4ln alatercall,heclaimedthatheandhispartner((pusjaedJacoinjustalittlebit''
by pressing a guy they knew and people itbehind the scenes''to m ake theprogram betterthan
otherprogram s, possibly by increasing the payouts.105
       1.      lncom e Claim s on Behalf ofJetcoin
       DefendantChandlerprolpoted Jetcoin aggressivelywith deceptiveincom eclaim s.In
addition to describing the prom ised ilw estm entreturns,106D ef-
                                                                endantChandlerim plied thathe
could teach listeners how to m ake 100 bitcoin by the end ofthe year. 107H isca11:9also featured


100A pp.436.
           .g4.4gg.
                  .jj,6gg.
101A pp.113.40-113.41,
                     .113.42-113.43;j13.44-113.45.
                                                 ,113.46-113.494113.5:.113.53.
102 A pp.48():12-4gj:4, 628.

103see discussion atSection II.G ,supra.

104A pp.469.
           .g4.4g():g,6g6.

105A PP.476:13-21,628.

106see,e.g.,A PP.445.
                    .24-447..3,624.
                                  ,467.
                                      .5 to 468:23,626.
107see A PP.458.
               .17-24,625.

                                                14
pm icipantsw ho gave testim onialsaboutthe high incom esthey had supposedly enm ed through
Jetcoin andimpliedthatconsumerswhojoinedJetcoincoulddo thesame.108

111.   D efendantsgProm otion ofBitcoin Fundl g Team ,M y7Network,and Jetcoin
       Violated Section 5 ofthe FI'C Act

       A.      Bitcoin Funding Team and M y7N etwork w ere chain referralschem es that
               violated Section 5 ofthe F I'C A ct

       lthaslongbeen recognizedthatchain referralschemesaredeceptiveand violate
Section 5 ofthe FTC A ct. 109 C hain referralschem es- which som etim es take the form ofchain
lettersorgifting clubs- relyupon feesfrom newlyrecruited participantsto fund therewards
paid to earlier,upline participants.A s aresult,each new participantrem ainsin a lossposition
untilhe orshe hasrecruited and extracted fees from additionallevelsofdownline participants.
The schem esnecessarily require acontinualchain ofrecnzitm ent.Thepromiseofrewardsis
untrueforthevastmajorityofparticipantswho,duetothegeometricprogressionofthescheme,
are com prised m ostly ofnew recruitsw ho have notreceived rew ards from dow nline participants.
       Itisthiscentralcharacteristicsofchain referralschemes paymentfortherightto
receive com pensation forrecruiting others into the program - thatfonu the undem inning ofthe
FTC A ct'sprohibition ofsuch schem es. SeeIn re H oliday M agic,Inc.,84 F.T.C .748,1037
(1974)($tA planwhichholdsouttheopportunityofmakingmoney,bymeansofrecruiting
others,withthatlighttorecruitbeingpassedonasaninducementforthoseotherstojoin,and
beingpassablebythem adinfnitum,containsanintolerablepotentialtodeceive,quiteapart
from whateverparticularrepresentationsmaybemadeinpromotingthep1an.'').
       Both Bitcoin Funding Team and M y7N etwork are progrnm sin w hich the participantpays
considerationtootherparticipants,inreturnforwhich therecruitobtainstheri/httoreceive



l08seeM cpeek D eclaration, at!15(App.110-111).

109sccKoscotInterplanetary, Inc.,86F.T.
                                      c.1106,1181(1975)(recruitingchainsandsimilar
schemesinvolveççtheinevitablydeceptiverepresentation(conveyedbytheirmereexistence)that
anyindividualcanrecoupllisorherinvestmentbymeansofinducingotherstoinvesfl;Ger-Ro-
Mar,lnc.,84F.T.C.95,147(1974)(notingthatcourtsandlegislaturesççhaverecognizedsince
time imm em orial''thatttthechain letterand sim ilardevices...constitute
athreattothepublicwelfare'),rcvW inpartonothergrounds,518F.2d33(2dCir.1975).

                                               15
com pensation forrecruiting others into the prov am .A ccordingly,each is an unlaw fulchain
referralschem e in violation ofSection 5 ofthe FTC Act.
       B.     Defendantsviolated Section 5 by prom oting BitcohlFunding Team ,
              M y7Network,and Jetcol with deceptive representations

       An actorpractice isdeceptiveunderSection 5 oftheFTC Actifitinvolvesam aterial
representation orom ission thatwould likely m isleadconsum ersacting reasonably tmderthe
circum stances.110 Expressclaim s,ordeliberatelym adeim plied claims,usedtoinducepayments
forproductsorservicesare presum ed to be m atedal.111 As shown above, each oftheD efendants
haveexpresslyand im pliedly represented to consum ersthatBitcoin FundingTeam or
M y7Network werebonafidemoney-making opportunities. ln doing so,theyweredeceiving
consum ers and violating Section 5.Chain referralschem es are notbona tidem oney-m aking
opportunitiesbecausetheynecessarilyresultinthemajorityofparticipantslosingmoney.
       D efendantshave also violated Section 5 by using deceptive incom e claim sto prom ote
Bitcoin Funding Team ,M y7N etwork,and Jetcoin.The 1aw isclearthatm isrepresentations
regardingprotitpotentialarematerialandviolateSection5(a)oftheFTC Act.1l2An entitymay
notéém ake deceptive use ofunusualealmingsrealized only by a few .''113


110F ï'
      c v*Tashman, 318F.
                       3d 1273A1277(1lthcir.2003).
                                                 5FTC v.PeoplesCrctW/First,LLC,
244Fed.App'x.942,944(11thCir.200*7)(followingTashman).
111FTC v.Transnetm 'rc/essCorp ., 506 F.Supp.2d 1247,1267(S.
                                                           D.Fla.2007)*
                                                                      ,FFC v.
slimAmerica,Inc,77F.Supp.2d 1263,1272 (S.D.Fla.1999).
112SeeFrc v.Five-starAuto Club,97 F . Supp.2d502,529(S.D.        N.Y.2000)Ctrepresentations
regarding the profitpotentialofa businessopportunity are im portantto consum ers,and therefore
such arematerialmisrepresentationsinviolationofSection5.5');FFC v.MinutemanPress,53F.
Supp.2d248,258(E.D.N.Y.1998)(misrepresentationsttthatbeardirectlyontheeconomic
viabilityofthetransactionunderconsideration- arebothlikelytodeceiveandraaterial'');FTC
v.Wo% No.94-8119-ClV,1996W L 812940,at*5(S.D.Fla.Jan.31,1996)(rqlresentations
werematedalbecausetheyrelatedtothettpotentialincomeoftheventure''l;ULS.Oi1(fGas
Corp.,1987U.S.Dist.LEXIS 16137,at44-45(S.D.F1.1987)(misrepresentationsregarding
profitpotentialviolateSection5oftheF'rC Act).
113N Jt'lDynam ics Corp . v.FTC,492 F.
                                     :!,
                                       d 1333,1335(2dCir.1974)(discussionofFTC cease-
and-desistorderl;seealsoFive-starWlfft?Club,97F.Supp.2dat528-29(sndingthatconsumers
could reasonably assum ethattheprom ised rewardsofafree carand substantialenrningswere
achievedbytypicalparticipants);Baileyol
                                      ïmp 'tSys.v.Hahn,545F.Supp.62,68(D.Conn.
1982)(companiesmaynotpublicizethelanusualenrningsofafew withoutindicatingthatthey

                                              16
       A s detailed above,D efendantslured consum ers into Bitcoin Funding Team ,
M y7Network,and Jetcoin by claimingthatthey could m akesubstantialoreven life-changing
incom e. 114These claim sweredeceptive asto Bitcoin Ftm ding Team and M y'm etwork because

theverystructureoftheseschemesdictatedthatthemajorityofconsumerswouldbeunableto
achieve substantialeam ingsandwould in factlosem oney.llsDefendantChandler'sclaim sasto
Jetcoin w ere deceptive because Jetcoin operated for only a shortperiod oftim e and consum ersin
factlosttheirinvestm ents.

       C.       Bitcoin Funding Team 'sand M y7Network's Disclaim ersw ereineffective to
                cure the deception

       M ostofthe incom e claim sm ade by D efendantsincluded no disclaim ers or
qualifications.Bitcoin Funding Team did include the follow ing statem entin its Term s
and ConditionsofU se:
       W e m ake no claim son how m ucllm oney you can m akew ith ourprov am . Your
       abilitytoearndependsonanumberoffactors,includingwhereandhow (and
       how often)youadvertisetheprotrram,andthemotivationandabilityofthosein
       yourup lines, gsic)tomakereferrals.lndividualresultswillvary.1l6

How ever,consum ers w ere notrequired to view thisorany otherdisclaim ersto create an
accountorm ake the originalpaym ent.l1:Disclaim erlanguage also appeared in a one of
Bitcoin Funding Team 'sprom otiona1videos.l18M ygx etw ork's w ebsite also included a
tiM y7N etwork EarningsD isclaim erStatem ent''atthe bottom ofitsTenns and Conditions
page, stating thattheprogram would notguarantee thatparticipantsw ould eax'
                                                                          n money.1l9
            f




arenotrepresentative).
1l4see discussions atSections 11.C,ll.F,and 11.1,supra.

1l5sccKeep Declaration, at!!20-22,35-36(App.122-123,129-130).

1l6A pp.087. seealsoApp.096(samepagepostedonbcûglobal.
                                                     com).
l17A PP.603,attim estnm p 28:02 to 31:49.

l18see A PP.jj?.g4.

119App. 113.59.ltisunclear9om availàbleevidencewhetherM y7Network participantswould
havebeen required to view theTermsand Conditionsbefore enrolling.

                                               17
         n ese attem pted disclaim ersw ere ineffective forthree reasons.First,consum ers were
exposed to volum inousprom otionalm atl
                                      mialthatdid notinclude disclaim ersordisclostlres,and,
atlemstinthecaseofBitcoin Funding Team,couldparticipatefully intheprop nm without
encountering thedisclaim ers.120Second,claimsregarding eam ingpotentialm aybemisleading
despite tçresultsm ay vary''orsim ilarlaqguage,because consum ersmayreasonablybelievethat
thestatementsofeam ingspotentialrepresenttypicaloraverageenrnings.121a e overajjjwt
im pression ofD efendants'statem ents w asthatconsum ersw ere likely to realize sir ificant
incom e asa resultoftheirpm icipation in the schem es.122
        Third,the disclaim ersin both schem essuggested thatfailure w astheresultof
m istakesorinadequaciesofparticipants, ratherthan a problem w ith the system hself.123
D efendantDluca supported thisinterpretation w hen he characterized Bitcoin Funding
Team ,ssystem as kqflaw jess,'124 and stated:
         There'sno excuse thata single one ofyou aren'treceiving 40,50,80 bitcoins in a


l20              -
      SeeRemovatlonInt'lcorp.vFTc,884F.2d 1489,1496-1497(1stcir.1989)(ttEach
advertisem entm uststand on itsow n m elits;even ifotheradvertisem entscontain accurate,non-
deceptiveclaims,aviolationmayoccurwithrespecttothedeceptiveads.'')'
                                                                  ,FTCv.Gill,71F.
Supp.2d 1030,1044(C.D.Cal.1999)(disclaimerin contractconsumerseventuallyhadtosign
wasnotinrepresentationsandthereforedidnotcuredeception)(citingRemovatron1nt'1Cory ).
12l             .
   FTC v.Medlcor,LLC,217F.Supp.2d 1048,1054(C.D.Cal.2002),seea/s'tjygc v.Equinox
                                                                       .


Int'l,No.CV-S-990969HBR(RLH),1999W L 1425373,at*6 (D.Nev.Sept.lzl,1999)
(tristributorsaregivenunrealistichypotheticalexamplesthattheirprofitswilliïncrease
geometrically ifdistributorsfocuson recruitm ent...(W hile)video presentationsand gcompanyj
materials...containdisclaimersastotheamountofprotitsobtainable...gtheyjaredifticultto
read,do notaccurately indicate the actualam ountofearnings thatcan be expected and do not
immunizeEquinox'sexaggeratedclaimsofincome.'')
122seeRem ovatron Int'lCorg , 884F.2dat1496Ci
                                            rrhetendencyoftheadvertisingtodeceive
mustbejudgedbyviewingitasawhole,withoutemphasizingisolatedwordso1.phrasesapart
from theircontexf')(quotingBenejlcialCorp v.FFC,542F.2d611,617(31-    d.Cir.1976)),
                                                                                  .FFC
v.WashingtonDataResources,856F.Supp.2d 1247,1273(M .D.Fla.2012)(ttRatherthan an
isolatedword,phrase,orsentence,therepresentation'sçEnetimpression''controls.'')
123SccApp.087(resultsdependedon advertisingskategyandmotivationmzdabilityof
participants);113.59(resultsdependedontimedevoted,implementationofstrategiesprovided
bythepropnm,finances,computerknowledge,andvariousskills).
124 A PP.261:10-11,598;275:21-24, 592:
                                     ,200:17,597.
                                     .



                                                18
       m atterof30 days. W ho'sholding you back? Y otlrself W e're notholding you
       back.125

Sim ilarly,DefendantDlucastated thattilerewasnotonelistenerwho should notbeiçset
forlife''by pm icipating in M y7N etw ork.126 such statem entsdestoyed any possible
effectof disclaim ers.127


IV.    The CourtShould Enter a TR O to Stop D efendants'D eceptive A cts
       A.       The CourtH asthe A uthority to G rantthe R equested R elief
       Section 13(b)oftheFTC Act,15U.S.C.j530942),authorizestheFTC toseek,andthe
Courttoissue,injunctivereliefinpropercases.Suchreliefcan includetempora:yrestraining
ordersandpreliminaryandpermanentinjunctions,togetherwithétanyancillaryreliefnecessary
toaccomplish completejustice.,,128
       B.       A TR O Should Be Entered Because the FTC IsLikely to Succeed on the
                M erits,and Balancing ofthe EquitiesServes the Public Interest

      Toobtaininjunctiverelief,theFTC mustshow (1)alikelihoodofsuccessonthemerits
                                               129
and(2)thatinjunctivereliefisinthepublicinterest. UnlikeinprivatecontroNe
                                                                       ,rsies,


125A pp.261:2-5,598. A long the sam e lines,D efendantG atto statesthathe cannotpzarantee
thatlistenerswillmakealotofbitcoinbecauseçtgit)basicallygoesbyyoureffolts,bywhatyou
putinto thisand your you know ,basically your shaling w ith friends.'' App.391:13-16,611
126A pp. 588:1-5,639.

127see FTC v. VemmaNutritionCo.,2015W L 11118111,at*7(D.Ariz.Sept.l8,2015)(noting
thatstatementslikeé<1hopeyou'renottypical''weakenedçdresultsnottypical''disclaimers).
128Al& TBroadband v. TechCommc'
                              n,Inc,381F.3d 1309,1316(11thCir.2004)(citingFFC
v.ULS.OiltfGasCorp.,748F.2d 1431,1432-34(11thCir.1984)(quotingFFC'       .v.Singer,Inc.,
668F.2d 1107,1113(9thCir.1982));FFC v.USA Fin.,LLC,415F.App'x970,976(11th Cir.
2011);seealsoPorterv.WarnerHolding Co.,328U.S.395,397-398(1946)(courts
empoweredto enjoinstatutoryviolationshaveçtallinherentequitablepowers'');FFC v.Gem
M erch.Corp.,87F.3d466,468-469(11thCir.1996)(statutoryauthoritytoenterinjunctions
includesfullrangeofequitableremedies)(citingPorterand ULS.OiltfGasColp.).
129FTC v.IAB M ktg.Assocs., LP,746F.'
                                    .
                                    3d 1228,1232(11thCir.2014);FFC v.Para-Link,Int'l,
Inc.,No.8:00-CV-2114-T-17TBM ,2001U.S.Dist.LEXIS 17372,at*14 (M .D.Fla.Feb.28,
2001).


                                             19
irreparableinjuryneednotbeshown.130Irreparab1einjurymaybepresumedinastatmory1aw
enforcem entaction,and çtno specific orim m ediate show ing oftheprecise w ay in w hich violation
ofthe1aw willresultin apublicharm isrequired.,,131In determ jnjyygwhetherapreliminary
injunctionisinthepublicinterest,acoultmustbalancetheequities.132w henadistrictcourt
                                        '



balancesthepublicinterestagainstaprivateinterest,thepublicinterestshouldr'
                                                                         eceive peater
w eight. 133
       A s discussed in Section l11above,the evidence am ply dem onstratesthatthe FTC is likely
to succeedon them erits.Defendantshaveviolated,andinm any instancescontinueto violate,'
the FTC A ctby prom oting deceptive chain referralschem es and m aking deceptive incom e
claim s.D efendants'serialprom otion ofdeceptive schem es is strong evidence thatthey will
continuetopromoteexistingornew deceptiveschemesunlessenjoined.134Thecourtmayinfer
the likelihood offm ure violationsfrom pastconduct.135Aninjunctionisproperand necessaryto
preventfuture violations.
       W ith regard to the second requirem ent- w eighing the equities- the public interestin
halting Defendants'violationsofSection 5 and in preserving assetsforam eaningfulmonetary

1301AB M ktg.Assocsz, 1r,746 F.3d at 1232.
                                         ,FTC v.University H ealth,Incw,938 F.2d 1206,
1218(11thCir.1991),
                  .Para-Link,Inth Inc,2001U.S.Dist.LEXIS 17372,at*l4.
131Unl
     'ted States v. Odessa Union WarehouseCo-op,833F.
                                                    2d 172,175(9thCir.1987).
l32 c/FIJ'V.Health,lnc., 938 F.2d at1217.
l33pwc v world Travelpuctz//
                           b ?zBrokers, 861F.2d 1020,1029 (7th Cir.1988);FFC v.USA
Beverages,Inc.,2005U.S.Dist.LEXIS39075,at*15(S.D.Fla.2005).
134SeeCFpc v.H unt,591 F.2d 1211,1220(7th Cir.1979)(it
                                                     W hentheviolationhasbeen
founded on system aticwrongdoing,ratherthan an isolated occurrence,acourtshouldbemore
willingtoenjoinfuturemisconduct.'')(citationsomitted).
l35seeFpc v. tlsA Fin.
                     ,LLc,415F.App'x970,975(11th Cir.2011)(despiteevidencethat
deceptiveconducthadceased,courtcould inferlikelihood ofviolationsfrom pastformation of
multiplecorporateentities);Hunt,591F.2dat1220(whilepastviolationsdonotnecessarilylead
to the conclusion thatthereisalikelihood offutureviolations,pastmisconductisçihighly
suggestiveofthelikelihoodoffutureviolations'')(citationsomittedll;SEC v.R.r Allen(f
Assocs.,386F.Supp.866,877(S.D.Fla.1974)(courtcouldinferlikely futureviolationsfrom
pastconduct:Etrf'
                heCommissionshouldnotberequiredtokeepthese(defendants)under
surveillanceandtobringasubsequentipjunction action iftheycommenceagaintosellçtainted
stock''')(intemalcitationsomitted).


                                               20
rem edy faroutw eighsany interestD efendantsm ay have in continuing to engage in deceptive
practices.136B itcoin Funding Tenm andM y 7Network offered no valueto consum ersotherthan
theopportunity to recruitothersinto the programsand to profit9om thelossesofothers.Jetcoin,
after enticing investorswith guaranteed high ratesofreturn on investm ent,ceasd
                                                                              zd operations
afteronly amonth and absconded with consumers'investm ents.BecauseDefendants'
prom otionalactivitiesarerooted in deception andpermeated by fraud,the equitiesweighheavily
in favorofgranting prelim inary relief
       C. DefendantsAreEachLiableForInjunctiveandM onetaryRelief
       AnindividualdefendantisliableforinjunctiveandmonetaryreliefundertheFTC Actif
(1)thedefendantparticipateddirectlyintheactsorpracticesorhadauthoritytocontrolthe
corporation'sunlawfulconductand(2)hadsomeknowledgeoftheunlawfulconduct.lS?The
FTC isnotrequiredtoproveasubjectiveintenttodefraudbutmaymeetthekntpwledge
threshold by show ing thatthe individualhad actualknow ledge ofm aterialm isrepresentations,
recklessindifference to the truth orfalsity ofsuch representations,or an awareness ofa high
Probability ofdeception,coupled with intentionalavoidance ofthe truth.138
       Each ofthe D efendantsparticipated in and had know ledge ofthe deceptive conduct;
each actively and know ingly prom oted unlaw fulchain referralschem es and m ade deceptive
earning claim s.The Courtshould hold thatthe FTC islikely to prevailin its requestfor equitable


136FFC v World Wl
         .         .deFactors,882F.   2d344,347(9thCir.1989)(Kg jjeyejsyjooppressive
hardship to defendantsin requiring them to com ply with the FTC A ct,refrain from fraudulent
representationorpreservetheirassetsfrom dissipationorconcealment.'')TheCourthasno
obligation toprotectill-gotten gainsorillegalbusinessinterests.CFFC v.BritishAm.
Commodity OptionsCorp.,560F.2d 135,143(2dCir.1977);UnitedStatesv.DiapulseCorp.of
America,457F.2d25,29(2d Cir.1972);.seealsoFTC v.Para-Linklnth 2001U.S.Dist.Lexis
17372,at*17(benefittoconsumersofenteringan injunctionfarexceededharm todefendant's
employeesandindependentconkactors).
137 USA Fin., LLC,415 F.App'x at974;Gem M erch.Corp.,87F.3dat470.FbZ v.lstGuar.
M ortg.Corp.,No.09-CV-61840,2011W L 1233207,at*14-15(S.D.Fla.M ar..     30,2011).The
FTC Actdefinesttcorporation''toincludeunincorporatedassociations. 15U.S.C.j5309.
l3FF Tc v Amy Travels'
                     crv., Inc.,875F.
                                    2d564,574(7thCir.1989);1stGuar.Jlorfp,2011W L
12332017,at*14-15;FFC v.FlN prom o.,Inc.,N o.8:07-CV -1279,2008 W L 821937,at*7
(M .D.Fla.M ar.26,2008);FFC v.JordanAshley,No.93-2257-C1V,1994W L .
                                                                  200775,at*3
(S.D.Fla.April5,1994).
m onetary reliefagainsta11Defendants.
               1.     Thom as Dluca
       D efendantD luca participated in Bitcoin Funding Team 'sdeceptive practices in each of
his fourroles--creator,adm inistrator,trainer,and prom oter.Obviously,ascreatorhe w as
instrumentalin spreading theproc am .Asadm ilzistrator,heparticipatedbym anaging the
progrnm and refining it, preslzmably forthepurposeofhelping itto spread moreefticiently.139
H e also acted as a trainerby advising existing participants ofupcom ing changesto the system .l40
        A sa prom oter,D efendantD luca recruited new participants into the schem e by m aking
m isrepresentations aboutits incom e potential.14IH e encouraged participantsto (jkn(jtw o people
to recruitinto the schem e who would then recruittheirow n tw o friends, and so on,l42tjjerej)y
causing the schem e to expand geom etrically.
       A screator,adm inistrator,trainer,and prom oter,DefendantDluca had a detailed
know ledge ofhow the system w orked;in atleasttw o calls,he described Bitcoin Funding Team 's
m atrix up to level3,show ing clear knowledge thatthe prop am depended exclusively upon
participantsrecruiting othersto recoup their investm ent. 143A s such,he knew the elem entsofthe
program thatm ade ita chain referralschem e and nota bona fide m oney-m aking opportunity.
Further,he knew orw as recklessly indiffkrentto the factthe program 's structure ensured that
m ostparticipantsw ould notobtain significantincom e,contrary to his deceptive incom e claim s.
       D efendantDluca also participated in M y7N etw ork's deception as aprom oter.ln addition
to m arketing the prov am with deceptive incom e claim s,he explained thatthe way to m ake
m oney w asto find two people who w anted to m ake m oney,and thosetwo people w ould in turn
share the program .144 ln doing so,he confinued hisunderstanding ofthe elem entsofthe prov am


i39For a discussion ofD efendantDluca's creation and adm inistration ofthem ogrnm , see section
Il.B .1,supra.

140see f-
        ootnote 20,supra.
14lsee discussion atsection ll.C,supra.

l42App. 329.
           .12-18,338:11-18,622.
143see 270:11-271.25,592.

144App.589.
          .14-17,639-
                    ,575-
                        .21-576:3,638.

                                                22
thatm ade ita chain referralschem e and llota bona fide m oney-m aking opportunity.
Accordingly,heisindividuallyliableforinjunctiveandmonetaryreliefinconnectionwithlzis
m arketing ofBitcoin FundingTenm and My> etwork.
               2.      LouisG atto
       DefendantGatto participated in Bitcoin Funding Tenm 'sdeception asatrainerand
prom oter.H isY ouTube videostaughtprospectshow to enrolland participate in Bitcoin Funding
Team in v eatdetail.He provided advice to otherparticipants on a variety oftopics,including
pitching the progrnm to new recruits,1451:
                                         Itow to usethe i
                                                        tback office,''146and even how to rebut
criticism sthatBitcoin Funding Team w as a scam orpyram id schem e.147jje presse(jpartioipants
to spread the schem e further, em ploying the them e &$2,4,8,D uplicate.''l4B
       SeveralofD efendantG atto,svideos show ed fulldevelopm entofthe m atrix,l49show ing
thathe understood fully thattheprogram he wasprom oting depended solely on recruitm entand
and w as nota bona fide m oney-m aking opportunity.W hen confronted w ith concernsthatBitcoin
Funding Team w as apyram id schem e orscam ,he stated:
       (ljfpeoplewanttosaythat'sascam,youknow what,1'm makingthatmoney.
       gexpletivej.And,listen,we'renotearning- we'renotsellingdrugshere.150
       Contem poraneousw ith or shortly afterhisinvolvem entw ith Bitcoin Funding Team ,
D efendantG atto began to prom ote anotherpure chain referralschem e- M y 7 N etwork. A sw ith
Bitcoin Funding Team ,D efendantG atto produced Y ouTube videosshowing the operation ofthe
program in greatdetail15land providing training on recruitm ent.lszH ealso m ade deceptive


145A PP.215:13-216:7,609.

146See,eg.,A pp.j6g.
                   .g.j6g:jg,sg4.

147A PP.369:16-373:20,608.

148A pp.211.
           .10-11,212.
                     .20-22,214:4-8, 609.
l49see L
       k-
        ootnote37 and accom panying text, supra.

150A PP.374:5-14,608.

151A pP.503:21-509:18, 631(detaileddescription ofGatto'sprogressontheMy7 Starter
Propnm);517:24-524:7,632(descriptioll.ofprogressonMy 7Oneprogram).


                                                 23
incom e claim s on behalfofthe prom am ,know ing itwasm erely a chain referralschem e.
                3.    Eric Pinkston
        DefendantPinkston pm icipated in thedeceptive actsoftheBitcoin Funding Team
program by servingtherolesofadministrator,trainer,and prom oter.W hilehedeniedhaving
controlovertheplatform asan officialadm inistrator,heportrayed himselfassomeonewho
could assistotherswith theBitcoin Funding Team platform and worked closely with Defendant
D luca to resolve issuesw ith the platform .153H e also trained participantson upcom ing changesto
thewebsite,how tousetheirEtbackoffice''(memberdashboard),andwhentouppadetheir
donations.l54
       A s aprom oterofBitcoin Funding Team ,D efendantPinkston spread the prop am as
quickly aspossible.H e created a sense ofurgency w ith the m essagethatbitcoin isexploding in
value;he called 2017 the <ûyearofbitcoill''and claim ed thatiflisteners followed theprogram and
recruited tw o m ore people,Bitcoin Funding Team w ould change their1ives.155I!e also claim ed
bitcoin was aboutto cause ttone ofthe largestw ealth transfersin our1ife.''156 H etrained
participantsto w ork actively to m ake sure theirrecruitsw ere recruiting others.lf'
                                                                                   ?H em anaged
otherparticipantsaggressively,checking theplatfon'n early every morning and contacting people
to tellthem who needed to upgrade,158l'
                                      nonitoling the w ebsiteto see who had accessed their
back oftices,159and w mming participantsofdtconsequences''ifthey ''m anipulate the system ''by


152A pp.524:8 to 525.2:6,632.

l53sce footnote 32 and accom panying text, supra.

l54se% e.g.,A PP.177:1g-179:9, 60()(describingupcomingchangestowebsitelp181:4-182:10,
600(detaileddescriptionofbackofticel;238:14-239:11,596(describingfundingmatrixand
trainingparticipantsonwhentoupvadetheirdonations).
155A PP.252:21-253:6,s98.

156A PP.33:11-21,602.

157see A pp.235:17-237:12, 596.

158A pp.221:19-222:20, s96.

159A PP.235:1-16,596.



                                               24
notupv ading when they were supposed to.160H eprom oted the program w ith :111know ledge of
theelementsthatm adeitachain referralschem eand notabonafidem oney-makingopportunity.
       DefendantPinkston also participatedin M y 7 Network'sdeception asaprom oter,trainer
and,to som eextent,asacreatorand adnlinistrator.Heusçd deceptiveclaim sofitunlim ited
eam ings''and 'tfinancialfreedom ''to sel'
                                         ltheprogram .l6lHe im plied to listenersthathehad
insiderknow ledgeoftheprom nm and involvementwith itscreation andadm inistration.l6z His
promotionalvideosincluded detailed descriptionsofhow thesystem wassupposed to operate
and trainingon how to usetheprop-am and recruitothers,leaving no doubtthatheknew the
featuresofthe program thatm ade ita chain referralschem e.163
               4.     ScottChandler
               DefendantChandler'sparticipation in Bitcoin Funding Team waslargelyin the
form ofaprom oter,though he did provitle som e training by taking listenersstep by step through
operation ofthem atrix164and providing a deceptive incom e claim asa sam plepitch:
       A nd w e ask people a11thetim e,you know ,w e say,hey,letm e ask you a question:
       First,how would you liketo take 100 bucksand turn itinto $80,000 overand over
       again?l65

       LikeDefendantPinkston,DefendantChandlerpressed listenersto actim m ediately
because ofthe increasing value ofbitcoin. H e discussed his failure to investin bitcoin when it
w as ten centsperbitcoin,166and urged listenersnotto m iss thisonce-in a-lifetim e ddgolden
                                                                       -



opportunity,,.167because Kvin 2017,w e'llcreate a lotofm illionairesforpeople in the rightplace


l60 A PP-239:17-240:2,596.

l61see discussion atSection II.F,supra.

l62seediscussion atSection l1.E.3,supra.

l63see App.397.
              .17-404.
                     .13,614.
                            ,41:..20.421.g,618.
                                              ,A pp.5g7.
                                                       .1g.53g.
                                                              .g,539.
                                                                    .2y.543.17,544.
                                                                                  .6.
548:2,634-
         ,561:9-568:14,636.
164See footnote37 and accom panying text, supra.

l65A PP.194:7-10,597.

l66 A pp.193:24-194:4, 597.

167A pp.291.
           .5.j(),jps.


                                               25
atthe righttim e w ith bitcoin.99168H e m atIe num erousdeceptive incom e claim s on behalfofthe
pror am .Like D efendantG atto,he used the them e <Q,4,8,D uplicate''to encourage othersto
spread the prov nm ,169show ing thathe w asfully aw are ofthe elem entsofthepzop am thatm ade
ita deceptive chain referralschem e.
       DefendantChandlernextbegan to promoteJetcoin.AsaççM asterDistrilmtor''with a
purported downline of 15,000 m em bersw ho regularly sponsored conference calls,Defendant
Chandlerwasahighly visiblepromoterofJetcoin.Heusedhisposition in theo:
                                                                     rganization to
dissem inate deceptive incom e claim s and persuade investorsto stay with the progrnm even as
Jetcoin quickly began to abandon itsprom ises. H ow ever,hisinvolvem entappearsto have gone
beyond prom otion. H e also represented thathe knew thepeople behind the scenes and had
provided inputinto the prop-am .l70
       Jetcoin prom ised to double investors'bitcoin in lessthan than 60 daysbased on the
activities ofanonym oustraders. D efendantChandler'sprom otion ofthistype ofprogram ,which
relied heavily on hisinsider stat'
                                 us and continued even afterJetcoin began repudiating its
prom ises,constituted reckless indifference atam inim um .
       D.      An Ex Parte TR O W ith an A ssetFreeze and O ther A ncillary R eliefls
               Essential

       A spa14 ofthe pennanentreliefin this case,the FTC seeksrestitution forthe victim sof
Bitcoin Funding Team ,M y 7 N etwork,and Jetcoin.To preserve thispossibility,the FTC seeks
an exparte TRO with an im m ediate freeze ofDefendants'assets and accessto theirrecords.
A bsentsuch relief,there is a substantialrisk thatDefendants willcontinue to prom ote deceptive
schem es,dissipate their ill-gotten assets,and destroy docum ents to preclude satisfaction ofany
finalorderrequiring m onetary relief.
               1.      The TR O Should Be Entered Ex Parte
       Exparte TRO sare w arranted w here the facts show thatEtim m ediate and irreparable




l68A pp.gpj.
           .5.g,5p5.

169A PP.343:13-19,602.

l70See foo
        ' tnotes83,104,and 105 and accompanyingtext, supra.



                                                26
injury,lossordamagewillresult''ifnotiiceisgiven.lVlCongressandthecourtshavelooked
favorably on the ability ofthe FTC to seek such relief I?2In the FTC 'S 1aw enforcem ent
experience,thereisasubstantialrisk thatFTC defendantswilldestroy evidence,dissipateassets,
andjeopardizethepossibilityofeffectivefinalreliefifgivennoticeofthereliefsoughtagainst
them .1?3Indeed,suchbehaviorislikely in thiscasegiven theblatantillegality oftheschemes.
n e FTC haspreviously soughtand been m anted exparte TRO sin pyram id actions,even in
caseswherecompaniespurported to offerproductsorservices.lM
       Theuseofcryptocurrency in the schem esprom oted by Defendantsposesaheightened
risk ofassetdissipation.AsBitcoin Funding Team 'sownm aterialsemphasize,bitcoin and other
cryptocurrencies are circulated through a decentralized com puternetwork,w ithoutrelying on
traditionalbanking institutionsorotherclearinghouses.175The Securitiesand Exchange
Com m ission hasw arned thatcryptocurrency'sindependence from traditionalcustodiansm ake it
difficultfor1aw enforcem entto trace or freeze itin the eventoffraud ortheft.l76The SEC has


171FED . R.CIV.P.65(b)(1).

1?2iThe(FTCjcangotocourtexpartetoobtainan orderfreezingassets,andisalsoableto
obtain consumerredress.''S.Rep.No.103-130at15-16(1994).
1?3The Certification and Declaration ofPlaintiff'sCounselJason C . M oon in Stlpportof
Plaintiff's:(A)ExParteM otionforTemporaryRestrainingOrder;and(B)Exf'Jr/cM otion to
Seal(Ru1e65Declaration),filedcontemporaneouslyherewith,furtherdescribestheneedforex
parte reliefand citescasesin which defendantsw ho learned ofim pending FTC actionsw ithdrew
funds ordestroyed vitaldocum ents.See-qlnçklnBroadband v.Tech Com mc ' ns,381F.3d 1309,
1319-20(11t11Cir.2004)(affidavitofattorneydetailinginstancesinwhichpartiesengagedin
sim ilar activities as defendanthad destroyed ortransferred evidence and assetssupported cx
parterelieg.
174See,e.g.,FTc v.Fortune H i-Tech Al/(/g., Inc.,No.13-CV-578(N.
                                                               D.111.Jan.24,2013);FFC
v.TrekAllianceInc,No.CV-02-9270DSF (AJW x)(C.D.Cal.Dec.16,2002);FFC v.SkyBiz
Int'l,Ltd.,4:01-CV-00396-CVE-FHM (N.D.Okla.June6,2001).
175A PP.301:4-10,607.

176SeeRu1e65Declaration, at!r10(citingSEC OfficeofInvestorEducationandAdvocacy,
lnvestorAlert:BitcoinandOtherVirtualCurrency-RelatedInvestments(2014)).Bitcoin
Funding Tenm in factclaim ed thatoneofthe advantagesofbitcoin isthatitcannotbeçEfrozen.''
App.301:11-13,607.Thisisnotcom pletely accurate.Thereare comm ercialwalletproviders
and cryptocurrency exchangeswho hold orcontrolcryptocurrency onbehalfofcustom ers;the
Courtcan andshouldfreezeanycryptoclrencyheldby anysuchentitieswhoaresubjecttothis

                                              27
also noted thatitbitcoin usersand transactions span the globe,''potentially causing problem sfor
law enforcementagenciestrymg
                          ' to getinformation from overseas.lN Defendantsclaim thata11
threeoftheschemeshaveexpanded into dozensofcountries.178IfDefendantsfk
                                                                     reprovided
noticeofthisaction,itwould be asimplematterforthem to kansfertheirbitcoin orother
cryptocurrency to unidentifiedrecipientsoutsidethetraditionalbanking system ,including
contactsin foreir countries,and effectively putitbeyond thereachofthisCourt.
               2.     A n A ssetFreeze ls N ecessary
       W hen adistrictcourtdeterminesthattheFTC islikelyto prevailin afinaldetermination
onthemerits,ithasçkadutytoensurethat...assets...gareqavailabletomakerestitution''tothe
injuredconsumers.1?9Tohe1p ensurethisavailability, preservethestatusquo,andguardagainst
thedissipation and diversion ofassets, the Courtm ay issue an assetfreeze.1s()courtshave
acknow ledged that,wherebusinessoperationsarepermeated by deception,thereisastrong
possibility thatassetsm ay be dissipated. 'S1In this case,Defendantshave prom cted blatantly
fraudulentschemesthatcouldin factsubjectthem tocriminalliability,lg2andtjL
                                                                         euseof.

Court'sjurisdiction.However,an individualneednothavearelationshipwithoneofthese
providersto engagein cryptocurrency transactions.
177SeeRule65 Declaration, at!(10.

178see fbotnote 2 and aceom panying text, supra.
1?9Ik-
     orld TravelVacation Brokers, 861 F.2d at1031.

180see,e-g.,(ycpyM erch. corg ,87 F.3d at469.

l8lseepd.#'
          .,sE c v.M anorN ursing a rg, Inc,458F.2d 1082,1106(2dCir.1972)CfBecauseof
thefraudulentnatureofgthejviolations,thecourtcouldnotbeasstlredthat(defzndants)would
notwastetheirassets.'');InreNat'1CreditMpAl/.Grp.,21F.Supp.2d424,462(D.N.J.1998)
(ttW hen ...businessoperationsarepermeatedbymisrepresentationsandfraud,thelikelihood
thatassetsmaybedissipatedduringthependencyofthelegalproceedingsisstr.  ong.''l.
182Federalcourtshave appliedKoscotInterplanetary, Inc 'sanalysistohold thatrecruie ent
chainsviolated federalcrim inalstatutes.See,e.g.,United Statesv.Gold,177F.3d472,480-481
(6thCir.1999)(approvingjuryinstructionthatincorporatedKoscotdefnitionofapyrnmid
scheme,infederalmailfraudprosecution);UnitedStatesv.Grasso,173F.Supp.2d353,359
(E.D.Pa.2001)(adoptingKoscotdefinitionofapyrnmidschemeinupholdingdefendant's
convictionforwirefraudandmailfraud).Stateshavealsopassedcriminalstatutespro/biting
suchschemes.See,e.g.,Fla.Sta.Ann.j849.091(W est2017)(FloridacriminalLstatute
prohibitingççchainletterclubs,''tçpyramidclubs,''andttpyramidsalesschemes');Ariz.Rev.Stat.

                                              28
cryptocurrency m akesthe risk ofdissipation pm icularly acute.
        TheEleventh Circuithasaffirmedthat<Kortly areasonableapproxim ation ofadefendant's
ill-gotten gains''isnecessary to freeze a defendant'sassets, astheburden ofproofisçirelatively
light.''1B3Followingprecedent, courtsin the Southern DistrictofFloridahavefrozen defendants'
assetsin num erousFTC enforcem entactionssuch asthis.184
        ltisdifficultto estim ateDefendzl
                                        k
                                        nts'ill-gotten gainsatthisstagein the proceedings
becausetheFTC doesnothaveaccessto businessorfinancialrecordsforDefendantsorthe
schem es. How ever,the FTC can provide arough estim ate oftotalconsum erpaym entsinto the
schemesbasedupon 1)thenumberofknownparticipants;2)theminimum levelofinvestment
necessarytoparticipate,and3)theestim atedvalueofbitcoinatthebeginningc.
                        .
                                                                      fthescheme.l's
TheFTC requeststhattheCourtfreeze atleast$1,446,876 each forDefendantsDluca,Gatto and
Pinkston, and $3,592,148 forDefendantChandler.186
        In addition to a provision directirlg D efendantsnotto dissipate orconcealassets, the FTC
seeks a provision in the TRO directing barlks,cryptocurrency w alletproviders, and other
financialinstitutionsto freeze such assets as are in theircustody or control. This Courthasthe
authority to directitsorderto such third partiesto freezeassets.l87The FTC a1s()seeks
provisionsrequiring these D efendantsto accountforand repatriate any fundsthathave been
transferred outside ofthe United States. The FTC also seeksan im m ediate accc.
                                                                              unting ofa11


Ann.j44-1735(2017)(Arizonacliminalstatuteprohibitingtçpyramidpromotionalschemes').
l831AB A.
          f/c/g.,746F.3dat1234(citingSEC v.ETSPayphones,Inc,408F.3d727,735(11thCir.
2005)).
184see Rule 65 declaration, at!(14.

185Thiscalculation islikely to understate actualconsum erinvestm ent,
                                                             because 1)more
consumerslikelyjoinedthepropamsin themonthsafterthestatementsaboutthenumberof
participantsweremade,2)many consumerslikelypaidmoreth% theminimum investment,and
3)thepriceofbitcoinandlitecoinandthereforethecostofenrollmentincreasedoverthelifeof
theprogrnm s.
1B6Forthe FTC'Scalculation oftheseam ounts, seeM cpeekDeclaration,at15 16-18(App.111-
113).
l87See p-
        affknsckmidtv.M ackay,763F.'J
                                    2d 711,717-19(5th Cir.1985)(courthadauthorityto
enforceassetfreezeagainstnonpartieswl
                                    zoactedinconcerttodissipatefunds).


                                               29
 Defendants'assetsand an orderrequiringthata11Defendantscompleteand retum to the FTC
 financialstatementson theformsattachlzd to theproposed TRO . Requiring accountingsand
 tinancialstatementsin combination with an assetfreezewillincreasethe likelihood of
preserving existing assetspending thefinaldetennination ofthismatter.1ssa eproposed vRo
also includesprovisionsrequidng Defendantstopreserveand producetotheFTC theirbusiness
records.


V.       C onclusion
         Forthereasonsdescribed herein,w e ask thatthe Courtenteran exparte TRO w ith
conductprohibitionsand an assetfreezeand orderDefendantsto preserverecords, provide
businessand tinancialinfonuation, and show causewhy apreliminaryinjunctionshouldnot
issue.


D ATED this231.d day ofFebruary,2018,



                                    Respectfully submitted,

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l88see,e.
        g.,sEc v.BankersA11. corp.,881F.supp.673,677(D.D.c.1995);sjïc v.
Parkersburg WirelessLtd.Liab.Co.,156 F.R.D.529, 532n.3(D.
                                                        D.C.1994).


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